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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------X

United States of America,

                                                  CR-02-1327 (CPS)

            - against -                           SENTENCING MEMORANDUM
                                                  AND OPINION

Edwin Perez,

                         Defendant.

------------------------------X

SIFTON, Senior Judge.

      On September 22, 2003, a jury found defendant Edwin Perez

guilty of conspiracy to distribute powder cocaine, crack cocaine,

and heroin in violation of 21 U.S.C. §§ 846.1 In May 2004, I

sentenced Perez to 292 months imprisonment2 to be followed by

five years of supervised release. Defendant appealed to the

Second Circuit Court of Appeals, and on June 6, 2005, the Court

of Appeals affirmed the conviction but remanded the case for re-

sentencing in accordance with United States v. Booker, 543 U.S.

220 (2005), and United States v. Crosby, 397 F.3d 103 (2d

Cir.2005). For the reasons that follow, I will at re-sentencing

consider a non-guidelines sentence.




      1
        As I previously found, the relevant drug quantities are as follows: six
kilograms of powder cocaine, 906.5 grams of crack cocaine, and 190 grams of
heroin.
      2
        Perez’s criminal history category was V, and his adjusted offense level
was 36, requiring a range of 292 to 365 months imprisonment under the then
mandatory federal sentencing guidelines.
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                                 Discussion

      Subsequent to Perez’s original sentencing, the Supreme Court

held in United States v. Booker, 125 S.Ct. 738 (2005), that the

mandatory nature of the United States Sentencing Guidelines

violated the Sixth Amendment because it deprived a defendant of

the right to have facts which mandated an increase in his

sentence found by a jury beyond a reasonable doubt. In its remedy

opinion, the Court severed 18 U.S.C. § 3553(b)(1), which had

rendered the Guidelines binding on federal sentences. Id. at 764.

This left 18 U.S.C. § 3553(a) in effect, which states:

      The court shall impose a sentence sufficient, but not
      greater than necessary to comply with the purposes set
      forth in paragraph (2) of this subsection. The court,
      in determining the particular sentence to be imposed,
      shall consider–-
           (1) the nature and circumstances of the offense and the
           history and characteristics of the defendant;
           (2) the need for the sentence imposed–-
                (A) to reflect the seriousness of the
                offense, to promote respect for the law, and
                to provide just punishment for the offense;
                (B) to afford adequate deterrence to criminal
                conduct;
                (C) to protect the public from further crimes
      of the defendant; and
                (D) to provide the defendant with needed
                educational or vocational training, medical
                care, or other correctional treatment in the
                most effective manner;
           (3) the kinds of sentences available;
           (4) the kinds of sentence and the sentencing range
           established for–-
                (A) the applicable category of offense
                committed by the applicable category of
                defendant as set forth in the guidelines . .
                .;
           (5) any pertinent policy statement--
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                 (A) issued by the Sentencing Commission
                 pursuant to section 994(a)(2) of title 28,
                 United States Code, subject to any amendments
                 made to such policy statements by act of
                 Congress . . . .
            (6) the need to avoid unwarranted sentencing
            disparities among defendants with similar records
            who have been found guilty of similar conduct; and
            (7) the need to provide restitution to any victims
            of the offense.

      A first step in post-Booker sentencing is to determine the

applicable Guideline range after making such findings of fact as

are necessary, as required by 18 U.S.C. § 3553(a)(4). Crosby, 397

F.3d at 112. Then a Court is to consider policy statements issued

by the Sentencing Commission, as required § 3553(a)(5). Id. This

applicable Guideline range is determined in the same manner as

before Booker. Id. Once this Guideline range is determined, the

Court has the duty to “consider” it along with the other factors

listed in § 3553(a). Id. at 112-13.

      In the present case, Perez’s criminal history category is V,

and the offense level, taking into account the relevant drug

quantities, is 36. The recommended range of imprisonment is

therefore 292-365 months. This range reflects the guidelines’

treatment of 1 gram of crack the same as 100 grams of powder

cocaine. This differential treatment is commonly referred to as

the “100:1 ratio.”

      In Simon v. United States, 361 F.Supp.2d 35 (E.D.N.Y.2005),

I rejected the 100:1 ratio and determined that a 20:1 or 10:1

ratio better expressed the seriousness of defendant’s offense and
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the other factors to be considered under § 3553. In the present

case, if a 20:1 or 10:1 ratio were employed, the appropriate

offense level would be 34, bringing the recommended guideline

imprisonment range down to 235-293 months.3

      Much of the reasoning in the Simon case applies in the

present case. Accordingly, for substantially the reasons set

forth in the Simon decision, I intend, at re-sentencing, to

consider a non-guidelines sentence.4

      Since the Simon decision was issued, several courts in other

circuits have held that district judges may not categorically

reject the 100:1 ratio in sentencing in favor of a lower ratio.

See U.S. v. Pho, 433 F.3d 53 (1st Cir.2006); U.S. v. Eura, 440

F.3d 625 (4th Cir.2006); U.S. v. Miller, 450 F.3d 270

(7thCir.2006). My rejection of the 100:1 ratio is neither

categorical nor based on the adoption of a particular alternate

ratio.

      In Pho, the First Circuit Court of Appeals held that a

district court’s categorical rejection of the 100:1 ratio

amounted to error as a matter of law. The Court stated, “federal

courts are bound by Congress’s...judgments concerning the



      3
        Use of some ratio keyed to the guidelines fo powder cocaine reflects
itself consideration of the guidelines as required by § 3553 and sets limits on
sentencing disparity.
      4
        I will at re-sentencing explicitly consider the remaining factors with
respect to Perez’s case. I issue this written opinion, however, to specifically
address the 100:1 ratio issue.
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appropriate penalties for federal crimes. 433 F.3d at 62. The

Court reasoned that Congress used the 100:1 ratio in fashioning

maximum and minimum sentences under the statutes, and therefore

the Sentencing Commission’s incorporation of that ratio into the

guidelines was by “congressional edict.” Id. The Court held that

“it follows inexorably that the district court’s categorical

rejection of the 100:1 ratio impermissibly usurps Congress’s

judgment about the proper sentencing policy for cocaine

offenses.” Id. at 63.

      However, in Booker, the Supreme Court severed the provisions

of the Federal Sentencing Act that made the guidelines mandatory

because the “right to have the jury find the existence of any

particular fact that the law makes essential to his

punishment...is implicated whenever a judge seeks to impose a

sentence that is not solely based on facts reflected in the jury

verdict or admitted by the defendant.” 543 U.S. at 232 (internal

quotations omitted). Because the guidelines were binding, the

Court held that “the Guidelines have the force and effect of

laws.” Id. at 234.

      As was the case in Booker, federal judges routinely find

facts, such as drug quantities, by a preponderance of the

evidence that were not proved to a jury beyond a reasonable

doubt. The Court held that when the guidelines mandated a higher

sentence based on those facts than would be available based on
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the facts found by the jury, a defendant’s Sixth Amendment rights

were violated. The Court stated:

      As far as the defendants are concerned, they face
      significantly higher sentences--in Booker’s case almost
      10 years higher--because a judge found true by a
      preponderance of the evidence a fact that was never
      submitted to the jury. Regardless of whether Congress or
      a Sentencing Commission concluded that a particular fact
      must be proved in order to sentence a defendant within a
      particular range, “[t]he Framers would not have thought
      it too much to demand that, before depriving a man of
      [ten] more years of his liberty, the State should suffer
      the modest inconvenience of submitting its accusation to
      ‘the unanimous suffrage of twelve of his equals and
      neighbours,’ rather than a lone employee of the State.”

Id. at 238 (quoting Blakely v. Washington, 542 U.S. 296 (2004)).

If the 100:1 powder cocaine to crack ratio were binding on all

federal judges, as the First Circuit Court of Appeals appears to

have stated in Pho, the ratio would carry “the force and effect

of laws,” and would thus implicate a defendant’s Sixth Amendment

rights. In a case such as Perez’s, where the judge, after the

jury has rendered its verdict, finds the relevant drug quantities

by a preponderance of the evidence, an increased sentence based

on the 100:1 ratio would be mandated (as opposed to recommended),

in violation of Booker and the Sixth Amendment.

      The Pho Court also held that if district courts were able to

reject the 100:1 ratio, in increase in sentencing disparities

would result. The Court reasoned, “if sentencing courts are free

to replace the 100:1 ratio with whatever ratio they deem

appropriate, the sentences of defendants for identical ‘real
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conduct’ will depend largely on which judge happens to draw a

particular case.” Pho, 433 F.3d at 63. However, sentences of

different defendants convicted of identical conduct will always

depend on their particular judges. Different judges may impose

different, but still reasonable, sentences for defendants

convicted of identical criminal conduct within the guidelines

range or even outside the guidelines after consideration of the

relevant § 3553 factors. Rational decisions to reject the 100:1

ratio will not themselves produce unwarranted sentencing

disparities. Such disagreements will be based on reason and

reasonable men and women may disagree.5 Indeed, the quantity of

100:1 ratio cases being appealed by the government to the circuit

courts indicates that numerous district courts around the country

are choosing to employ lower ratios. See RYAN S. KING & MARC MAUER,

SENTENCING WITH DISCRETION: CRACK COCAINE SENTENCING AFTER BOOKER 4-5 (2006)

(documenting cases where district courts have rejected the 100:1

ratio). To the extent that circuit court decisions create

disparities between courts in different circuits, those conflicts

can be addressed in the manner that conflicts between circuits

are normally addressed: by the Supreme Court.6

      5
        The extent of the disparity created by use of a ratio other than the 100:1
ratio is cabined (1) by tying the ratio in all events to the guidelines’ treatment
of powder cocaine and (2) by literature and precedent cited in Simon which itself
considers the limited number of appropriate ratios and the reasons for choosing
one over the others.

      6
        The suggestion in Pho that any non-guidelines sentence undermines the goal
of avoiding sentencing disparities effectively re-introduces the mandatory
guidelines system rejected in Booker.
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      Accordingly, I will not be bound by the 100:1 ratio set

forth in the guidelines.

                                 Conclusion

      For the foregoing reasons, and for the reasons substantially

set forth in my prior decision in the Simon case, I will at re-

sentencing consider a non-guidelines sentence.

      The Clerk is directed to transmit a copy of the within to

all parties.



            SO ORDERED.

Dated :     Brooklyn, New York
            July 27, 2006




                    By: /s/ Charles P. Sifton (electronically signed)
                        United States District Judge
